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                IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                           Richmond Division




STEVES AND SONS, INC.,

       Plaintiff,

V.                                      Civil Action No. 3:20cv98


JELD-WEN, INC.,

       Defendant.




                                  ORDER


       Having considered JELD-WEN'S MOTION TO FILE UNDER SEAL (EOF

No. 191), and the supporting memorandum, and for good cause shown,

and the requirements of Local Civil Rule 5 and the decisions in

Ashcraft, et al. v. Conoco, Inc., 218 F.3d 288 (4th Cir. 2000), In

re Knight Publishing Co., 743 F.2d 231 (4th Cir. 1984) and Stone

V. Univ. of Maryland, 855 F.2d 178 (4th Cir. 1988) having been

met, and the defendant asserting that the document requested to be

sealed is designated confidential under the STIPULATED PROTECTIVE

ORDER (EOF No. 25) entered herein, it is hereby ORDERED that JELD-

WEN'S MOTION TO FILE UNDER SEAL (EOF No. 191) is granted and JELD-

WEN, INC.'S SUBMISSION REQUESTED BY THE COURT DURING THE APRIL 22,

2020   TELEPHONIC   CONFERENCE   (ECF No.   194)   is   filed   under   seal;
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